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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                     *
                                               *
         v.                                    *
                                               *       CRIMINAL NO. 23-cr-257 (TSC)
 DONALD J. TRUMP,                              *
                                               *
                         Defendant.            *
                                               *

  PRESIDENT DONALD J. TRUMP’S MOTION FOR ACCESS TO CIPA § 4 FILING
           AND AN ADJOURNMENT OF THE CIPA § 5 DEADLINE

        President Donald J. Trump respectfully submits this motion in response to the September

25, 2023 “Notice of Filing” by the Special Counsel’s Office relating to a motion for a protective

order pursuant to § 4 of the Classified Information Procedures Act (“CIPA”) and Rule 16(d)(1).

(Dkt. No. 59). As discussed in more detail below, President Trump is seeking a fair opportunity

for reasonable adversary proceedings and public access relating to the Office’s CIPA § 4 motion,

and additional time to provide notice pursuant to CIPA § 5 so that his full defense team can

participate in that filing based on review of all of the materials to which President Trump is entitled.

                                          BACKGROUND

        CIPA § 4 authorizes the Court to issue a protective order permitting prosecutors to “delete,”

“substitute,” or summarize otherwise-discoverable classified materials. As of today, the Special

Counsel’s Office has not disclosed to President Trump or defense counsel the type(s) of relief it is

seeking under CIPA § 4 or the types of documents or information at issue in the motion.

        The CIPA § 4 motion requires the Court to consider, inter alia, whether the materials are

“relevant” and “helpful” to President Trump. E.g., United States v. Yunis, 867 F.2d 617, 623-24

(D.C. Cir. 1989). The applicable standard therefore requires consideration of President Trump’s

defense theories. President Trump cannot fully develop those defenses, and the Court certainly
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cannot anticipate them in connection with an ex parte CIPA § 4 motion, until after he has had an

opportunity to review the discovery and seek further disclosures.

         For the first time yesterday, cleared counsel for President Trump was permitted to review

classified discovery provided by the Special Counsel’s Office in this case. 1 Our review was brief

and preliminary. But it is clear that President Trump is entitled to additional materials possessed

by the U.S. intelligence community and other Executive Branch actors, which we will request from

the Office and, if necessary, pursue via motions to compel and other procedures. However, the

Court Information Security Officer (“CISO”) has informed us that restrictions on one of the central

documents in the Office’s classified production currently preclude us from writing to the Court or

the Office about the document’s substance in connection with these anticipated applications. We

do not know when those limitations will be addressed.

         It also appears that classified Jencks Act and Giglio materials exist for several witnesses,

including but not limited to classified emails that witnesses exchanged around the time of the

events in question. The Special Counsel’s Office did not include those classified materials in its

first production of classified discovery. Classified witness-related materials will likely require

litigation under CIPA §§ 5-6 and potentially § 4.

                                           DISCUSSION

    I.   President Trump Objects To Ex Parte Proceedings Under CIPA §4

         While CIPA § 4 confers discretion upon the Court to authorize some aspects of the motion

to be filed ex parte, President Trump objects to the ex parte proceedings initiated by the Special

Counsel’s Office under the unique circumstances of this case. It is not a foregone conclusion that



1
  Two members of President Trump’s defense team in this case have not obtained necessary
clearances.

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ex parte proceedings are appropriate. See United States v. Stillwell, 986 F.3d 196, 201 (2d Cir.

2021) (“It was only after Defendants were able to review the previously undisclosed material

[covered by a CIPA § 4 protective order] that they were in a position to even determine whether to

pursue such a claim.”). We respectfully request permission to submit a brief elaborating on this

and any other procedural objections to the Office’s CIPA § 4 filing by October 11, 2023. The

Special Counsel’s Office advises that it objects to our request to submit a brief on this subject, but

takes no position as to our requested deadline.

 II.   President Trump Objects To Unjustified And Unnecessary Sealing

       To facilitate an appropriate adversarial process and respect the public’s right of access to

these proceedings, the Court should order the Special Counsel’s Office to file publicly (1) a

redacted version of its CIPA § 4 submission, and (2) a memorandum of law with argument and

authorities regarding the bases for the redactions so that President Trump can address those

contentions in his October 11, 2023 submission. The Special Counsel’s Office objects to this

request.

       Although we recognize that some aspects of the CIPA § 4 motion likely contain classified

information, there is no apparent basis for the decision of the Special Counsel’s Office to file its

entire submission ex parte and under seal. “[I]n those rare situations where the government is

compelled to make an ex parte Section 4 filing containing arguments in support of immateriality,

the government should fully explain why the ex parte filing is necessary and appropriate.” United

States v. Libby, 429 F. Supp. 2d 46, 48 (D.D.C. 2006); see also Al-Hela v. Biden, 66 F.4th 217, 239

(D.C. Cir. 2023) (“[P]rocedures whereby neither the person affected by the government’s proposed

action, nor his counsel, are permitted to view all the government’s evidence during the merits

determination are rare, and any such procedures raise more serious due process concerns regarding



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notice and opportunity to rebut.”); In re Leopold, 2020 WL 7481037, at *5 (D.D.C. 2020)

(explaining that “for investigative applications resting on classified information” only “a separate

attachment that may be handled appropriately to its classification” is filed under seal); Kaley v.

United States, 571 U.S. 320, 355 (2014) (Roberts, C.J., dissenting) (“Common sense tells us that

secret decisions based on only one side of the story will prove inaccurate more often than those

made after hearing from both sides.”).

       In an OFAC-delisting action, the Court observed that requiring the claimant to proceed

“without potentially material information . . . would be unfair.” Gallon v. Mnuchin, 2019 WL

11385076, at *2 (D.D.C. 2019) (Chutkan, J.). So too here. And in Libby, Judge Walton explained

that he was “disquieted by the prospect of having to make such a determination [under CIPA § 4]

through ex parte proceedings, and trust[ed] that because defense counsel in this case have security

clearances the need for such proceedings will be rare . . . .” Libby, 429 F. Supp. 2d at 48. The

court subsequently ordered that redacted versions of sealed, ex parte CIPA submissions be filed

on the docket because unclassified aspects of those materials “can be made available to the public.”

See Dkt. No. 189, United States v. Libby, No. 05 Cr. 394 (D.D.C. Nov. 15, 2006); see also id. Dkt.

No. 38 (directing filing of redacted version of ex parte affidavit).

       In other cases, rather than reflexively and without explanation filing entire briefs ex parte

because they contain some classified information, the government has filed redacted submissions

or submitted the classified information in separate filings. See, e.g., Doe v. Mattis, 288 F. Supp.

3d 195, 198 (Chutkan, J.) (“[T]he Defense Department filed a redacted, sealed version of the

[classified] declaration.”); Dkt. Nos. 228-29, Al-Baluchi v. Austin, et al., No. 08 Civ. 2083 (D.D.C.

Apr. 29, 2022); Dkt. Nos. 90-91, United States v. Liu, No. 19 Cr. 804 (S.D.N.Y. Dec. 21, 2020);




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Dkt. Nos. 62-63, United States v. Alimehmeti, No. 16 Cr. 398 (S.D.N.Y. July 24, 2017); Dkt. No.

97, United States v. Hasbajrami, No. 11 Cr. 623 (E.D.N.Y. Dec. 23, 2014).

       Here, it strains credulity for the Special Counsel’s Office to suggest that its unclassified

arguments, citations to legal authority, and any proposed order must be hidden from President

Trump and the public. In addition to President Trump’s due process rights, open-access principles

under the First Amendment and at common law require a different course for a CIPA filing that is

obviously an important “judicial record.” League of Women Voters of the United States v. Newby,

963 F.3d 130, 136 (D.C. Cir. 2020) (“[E]very part of every brief filed to influence a judicial

decision qualifies as a judicial record.” (cleaned up)). “Accessing judicial records is fundamental

to the rule of law and important to maintaining the integrity and legitimacy of an independent

Judicial Branch.” CNN v. FBI, 984 F.3d 114, 118 (D.C. Cir. 2021) (cleaned up). Accordingly, the

Special Counsel’s Office should be required to file a public version of its CIPA § 4 motion and

justify any redactions so that President Trump and the public have an opportunity to respond to

those contentions.

III.   President Trump Will Seek A Hearing On The CIPA § 4 Submission

       To the extent the Court authorizes the Special Counsel’s Office to proceed ex parte, in

whole or in part, President Trump respectfully requests an opportunity for an ex parte proceeding

to discuss defense theories that the Court will be required to consider as it applies the applicable

standard. See United States v. Libby, 429 F. Supp. 2d 18, 26 (D.D.C. 2006) (“[T]he Court will

provide the defendant the opportunity to submit an ex parte affidavit from counsel detailing the

defense so that the Court will be in a more informed position to determine whether the

government’s proposed redactions or substitutions for a particular document adequately provide




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the defendant with what he needs to pursue his defense.”). 2 The Special Counsel’s Office does not

object to such a hearing, but contends that it must take place in the next two weeks. That timeframe

is not appropriate, and we request that the Court refrain from setting this deadline until after

President Trump’s objections to the sealing and ex parte handling of the CIPA § 4 motion are

addressed.

       First, two members of President Trump’s defense team have not obtained clearances and

are unable to review or discuss the classified discovery. Particularly in light of the compressed

schedule urged by the Special Counsel’s Office, President Trump’s Sixth Amendment rights

require all counsel to be in a position to review and evaluate classified discovery and to participate

in the planning of litigation strategy based on insights yielded from the classified productions.

       Second, the Special Counsel’s Office is not in compliance with its discovery obligations

with respect to classified materials, which precludes President Trump from planning his defense

on the timeframe urged by the Office. In order for the Office to comply with these obligations,

Prudential Search Reviews and additional classified disclosures—including, but not limited to,

classified disclosures pursuant to the Jencks Act and Giglio—will be necessary. See Justice

Manual § 9-5.002 (discussing prosecution team composition and case-file review, including

review of “substantive case-related communications);3 Justice Manual § 9-90.210 (discussing


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  Accord United States v. North, 698 F. Supp. 322, 324 (D.D.C. 1988); see also, e.g., United States
v. Kotey, 545 F. Supp. 3d 331, 337-38 (E.D. Va. 2021); United States v. Liu, 2021 WL 3374535, at
*1 (S.D.N.Y. 2021); United States v. Chi Ping Ho, 2018 WL 6082514, at *3 (S.D.N.Y. 2018);
United States v. Ying Lin, 2018 WL 3404137, at *1 (E.D.N.Y. 2018); United States v. Ng Lap Seng,
2017 WL 2715213, at *1 (S.D.N.Y. 2017); United States v. Hausa, 232 F. Supp. 3d 257, 260-61
(E.D.N.Y. 2017); United States v. Mostafa, 992 F. Supp. 2d 335, 337-38 (S.D.N.Y. 2014); United
States v. Babafemi, 2014 WL 1515277, at *3 (E.D.N.Y. 2014); United States v. Kim, 2013 WL
3866542, at *1 (D.D.C. 2013).
3
    See https://www.justice.gov/jm/jm-9-5000-issues-related-trials-and-other-court-proceedings
(last accessed Sept. 27, 2023).

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Prudential Search Reviews);4 In re Extradition of Ameen, 378 F. Supp. 3d 902, 906 & n.8 (E.D.

Cal. 2009). For example, consistent with DOJ practice in other cases, the Office has acknowledged

in the Southern District of Florida prosecution that defense discovery requests may require

additional classified disclosures. (See Dkt. No. 104-2 at 13-14, United States v. Trump, No. 23 Cr.

80101 (S.D. Fla.)); see also, e.g., United States v. Kuciapinski, 2022 WL 3081928, at *6 (D. Colo.

Aug. 3, 2022) (“Pursuant to CIPA, the Counterintelligence and Export Control Section made a

Prudential Search Request with the federal agencies . . . controlling the discovery that [defendant]

requested . . . .”); United States v. Doe No. 2, 2009 WL 10720338, at *3 (S.D. Fla. 2009) (noting

that, in response to a defense request, prosecutors had “launched inquiries, seeking damage

assessments, to all United States governmental entities that reasonably could be expected to have

such assessments if such assessments exist”). President Trump cannot fully develop his defense

theory for the Court’s ex parte consideration without access to these materials and an opportunity

to review them.

         Third, as noted above, in light of restrictions on one of the central documents in the

classified discovery, we are presently foreclosed from making applications to the Special Counsel’s

Office or the Court relating to the substance of the document. Thus, although we anticipate

transmitting discovery requests and motions to compel, we are not in a position to pursue those

mechanisms as of this filing.

         Under these circumstances, and even if the restricted-handling issue is addressed promptly,

the two-week deadline proposed by the Special Counsel’s Office for President Trump to disclose

his defense theories to the Court is not reasonable or an efficient use of judicial resources. There

is no fair reason for the Office to push the Court to quickly resolve its CIPA § 4 motion on an ex


4
    See https://www.justice.gov/jm/jm-9-90000-national-security (last accessed Sept. 27, 2023).

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parte basis when it is apparent that there will be additional litigation regarding the nature and scope

of the Office’s discovery obligations, including but not limited to its obligations with respect to

classified discovery. If the Court takes the course urged by the Office, subsequent disclosures

could cause President Trump to supplement or revise his defense strategy, which could in turn

require the Court to revisit any prior protective order(s) issued under CIPA § 4. For all of these

reasons, the Court should refrain from setting a deadline for any ex parte submission by President

Trump until after resolving his procedural objections to the CIPA § 4 motion.

IV.    President Trump Requests An Adjournment Of The CIPA § 5 Deadline

       Finally, President Trump respectfully requests that the deadline for CIPA § 5 notice be

adjourned until three weeks after all defense counsel obtain necessary clearances and the Special

Counsel’s Office completes its productions pursuant to Brady, Rule 16, the Jencks Act, and Giglio.

       At the August 28, 2023 conference, the Special Counsel’s Office proposed that CIPA § 5

notice be required within 30 days of counsel obtaining clearances. (8/28/23 Tr. 51). At the time,

we did not object to that deadline because we expected that the Special Counsel’s Office would

discharge its disclosure obligations in this case in the same way that the Office had described

discovery in the Florida Case. There, the Office committed to “promptly” producing “all” witness

statements, “even if [the statements] would not be deemed discoverable under 18 U.S.C. § 3500.”

(Dkt. No. 30 at 2, Dkt. No. 76 at 5, United States v. Trump, No. 23 Cr. 80101 (S.D. Fla.)). We now

know that the Office has not met that undertaking in the Florida case, and it has not yet produced

such materials here.

       President Trump currently expects to include information from the classified discovery in

his CIPA § 5 notice, and he is also likely to provide CIPA § 5 notice as to materials that he will be

seeking but have not yet been produced. In addition, the use at trial of classified witness



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statements, including contemporaneous classified emails, is central to President Trump’s

anticipated CIPA § 5 litigation strategy. Once these materials are produced, we expect to establish

that some of them are relevant and admissible as substantive evidence, and others will be

admissible as appropriate impeachment. Therefore, it would be inefficient to require a CIPA § 5

notice in the near term because that process will have to be completed again as the Special

Counsel’s Office makes additional disclosures.

                                          CONCLUSION

       For the foregoing reasons, the Court should (1) order the Special Counsel’s Office to file a

redacted version of its CIPA § 4 motion and a public brief justifying its redactions; (2) refrain from

addressing the CIPA § 4 motion until President Trump has an opportunity to file procedural

objections on October 11, 2023 and make any appropriate ex parte submission regarding his

defense theories; and (3) adjourn the deadline for CIPA § 5 notice until three weeks after the Office

complies with its disclosure obligations as to the entire defense team.

 Dated: September 27, 2023                            Respectfully submitted,

                                                      _/s_Todd Blanche__________
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 27, 2023, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, which in turn serves counsel of record via

transmission of Notices of Electronic Filing.



                                                /s/ Todd Blanche____
                                                Todd Blanche




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